        Case 4:20-cv-02058-ACA                    Document 354-6                 Filed 03/03/25           Page 1 of 16                      FILED
                                                                                                                                   2025 Mar-03 PM 09:31
                                                                                                                                   U.S. DISTRICT COURT
                                                                                                                                       N.D. OF ALABAMA
                                                                                                                           P9t Iof 15
                                                                                            ADOC Institutional Vulnerability Analysis


                                          Alabama Department of Corrections
                                            Institutional Vulnerability Analysis


                                    Institution Name:        St. Clair Correctional Facility

        Dale:   May 2,2016


        DOCUMENT PURPOSE


           •    To promote sensitivity to potential threats which could compromise the safe and secure operation of
                institutions within the Alabama Department of Corrections.

           • To provide asense of what threats require the prioritized appropriation of agency resources

           •    To assess current institutional preparedness

           •    To reduce identified vulnerabitity(ies) to an acceptable level

           • To provide guidance as the emergency preparedness process evolves

           •    To aid ADOC staff in establishing documents, training, exercising, and review of policy at the agency and
                institutional level, including consistency across institutions and divisions of the agency

        DOCUMENT USE:

       This document relies upon the honest, subjective, but educated, decisions of an institution's' management team.
       It is not meant to, nor can it, address all information regarding risk factors and assessment, It should promote
       thought-provoking discussion and perhaps generate additional factors, which warrant review and consideration.
       Some words or phrases such as immediate vicinity are purposely not defined, as it is the institution's challenge to
       identify vulnerabillty(les) in relation to the institution and community. It is best completed In agroup setting that
       includes the facility management and staff with institutional and community involvement. As the team proceeds
       through the document, the answers to each section should guide the responses to the subsequent sections.

       This assessment tool is meant to be adynamic and evolving toot, which is reflective of the Alabama Department
       of Corrections. If your discussion provides additional factors worthy of consideration, enter them directly on the
       form. Use additional pages as necessary to fully explain and evaluate the issues. This form shall become a
       historical reference in order to document each year's activities and process.

       The completed document will assist each institution in ensuring that it is prepared for an emergency situation.
       The results will provide direction for long term planning.

       This process will be completed annually. A copy of this risk assessment shall be forwarded to the Associate
       Commissioner-Operations no later than the last day in April each year. Maior chanqes that impact the institution
       shall necessitate anew assessment earlier than the annual interval.




                                                                                                                               EXHIBIT


                                                                                                                                    (p
                                                         1

                                                                                                                  I                           4
HIGHLY CONFIDENTIAL                                                                                                   ADOC-TP-019471
        Case 4:20-cv-02058-ACA                   Document 354-6               Filed 03/03/25            Page 2 of 16

                                                                                                                        Page 2oilS
                                                                                          ADOC lnstltuUonal Vulnerablilly Analysis



                                                          SECTION I

                                           INSTITUTIONAL OVERVIEW


       Transportation Networks:


                              Transportation System                            Proximity to the Institution
       Airport Birminqham-Shutllesworth International Airport                             miles
       Interstate/ Major Hiqhway Interstate 59                                             iles
       Railroad                                                                     M      iles
       Other:




       Community Support Services:

                     Service                   Proximity to the Institution         Resoonse Time
       Ambulance                                          miles                        minutes
       Fire Department                                  : miles                        minutes
       Hospital                                           miles                        minutes
       Law Enforcement with
       Jurisdiction: Springville PD
                                                          mutes                         minutes
       Other Law Enforcement:
       Odenville
                                                          miles                          minutes
       Comments:




       There is increased potential of risk due to the institution's proximity to the following
       facilities:

                                        Risk                                   Proximity to the Institution
       Major Gas or Pipelines                                                           None
       Nuclear Power plant or other power facility                                      None
       Dam                                                                              None
       Business or Industry w/potentlal for accidents which could                       None
       contaminate air, water, or ground:

       Other:                                                                           None




                                                        2


HIGHLY CONFIDENTIAL                                                                                                ADOC-TP-019472
        Case 4:20-cv-02058-ACA                      Document 354-6                Filed 03/03/25              Page 3 of 16


                                                                                                                              Page 3of 15
                                                                                               ADOC Institutional Vulnerability Analysis




                                               INSTITUTIONAL OVERVIEW


       There is an increased risk due to past weather patterns at the institution's location:

                         Weather Pattern                                    Past History (Yes or No)
       Blizzards                                              NO
       Hurricanes                                             NO
       Hail Storms                                            YES
       Electrical Storms                                      YES
       Heavy Fog                                              YES
       Extreme Winds                                          YES
       Tornadoes                                              YES
       Rain Storms with resulting flooding                    NO
       Temperature extremes                                   High:     YES                  Low: NO
       Other:




       The institution has experienced the following in the past year:

                                      Situation                                                Yes or No
       a. Turnover of core management team members                                               YES
       b. Change in institutional Program/mission                                                 NO
       c. Significant population increase over 10%                                                NO
       ci. Major Remodeling! New Construction                                                    YES
       e. Dramatic Change in nature of population                                                 NO
       Explanations:




       Potentially damaging litigation (list each case with details): Yes

           1.   Dunn vDunn      -   dealing with the Americans with Disabilities Act


       Other Risk Factors:


       Update of Security Equipment /or Security Systems included in recent change(s):

       Cell door locking mechanisms were replaced on all inmate living areas


       Proposed policy changes that may impact the Institutional Operations and/or inmate population:

       Develop intake procedures for inmates being processed at SCCF to include housing unit placement, programs,
       and to create amore safe environment, particularly for inmates at greater risk.




                                                           a

HIGHLY CONFIDENTIAL                                                                                                       ADOC-TP-019473
        Case 4:20-cv-02058-ACA                     Document 354-6                   Filed 03/03/25               Page 4 of 16


                                                                                                                                 Page 4of 15
                                                                                                  A000 Institutional Vulnerability Analysis


                                                          SECTION II

                                        Factors which may affect vulnerability

        PHYSICAL PLANT:
        IAge                               I Yes or No   ILocation                                     IYes or No
        Facility over 20 years old            YES        In approach or takeoff flight pattern              NO
        10 to 20 years old                    NO         In wooded area                                    YES
        5to 10 years old                      NO         On or near earthquake fault line                   NO
        Less than 5years old                  NO         In aflood plain                                    NO
        Design                                           Residential area                                 YES
        Campus style                         YES         Other (specify)                                   NIA
                                              NO         Rural:                                           YES
                                                         Within 15 minutes of population center
        Self contained buildings                         Within 30 minutes or population center
        Modular units                         NO         Perimeter
        Original Design                                  Armed Perimeter                                  YES
        A non correctional public             NO         Building Serves as Perimeter                      NO
        facility
        Is currently used as designed         NO         Double Fence                                     YES
        Was designed for different            NO                                                          YES
        custody level                                    Canine Patrol
        Institutional Access                             Mobile Patrol (as needed)                        YES
       Access around perimeter Is            YES                                                          YES
       controlled                                        Motion Detection
       Access into institution is            YES                                                          YES
       controlled                                        Lethal Fence
       Access within the perimeter is        YES                                                           NO
       controlled                                        Stun Fence
       Control Center is secured             YES         No Fence                                          NO
       Other (specify)                        N/A        Single Fence                                      NO
                                                         Towers                                           YES
       Living Units                                      Well Lighted                                      NO
       Dormitory                             YES         Visibility restriction is common                  NO
       Single/double                         YES         Support Buildinqs
       Combination Dormitory I               YES                                                          YES
       Cell                                              Construction Primarily Flammable
       Construction Prinarily                 NO         Construction Primarily Non                       YES
       Flammable                                         Flammable
       Construction Primarily Non            YES                                                          YES
       Flammable                                         Equipped Auto Sprinklers
       Equipped With Sprinklers              YES         Equipped with working fire alarm                  NO
       Flammables stored according                                                                         NO
       to state rules and ACA                            Flammables stored according to
       guidelines                                        state rules and ACA guidelines
       Fire Hydrants
                               #outside        3
                                4 inside       9

        Required Inspections                                                                              Dates
       Fire Marshal:                                                                                    10/2015
       Deficiencies Corrected                                                                            YES



                                                         4



HIGHLY CONFIDENTIAL                                                                                                        ADOC-TP-019474
        Case 4:20-cv-02058-ACA                   Document 354-6         Filed 03/03/25         Page 5 of 16


                                                                                                                P- 9, 5015
                                                                                 ADOC Institutional Vulnerability Analysts


         Health Department:          Last score 95                                         4/4/18
         Deficiencies Corrected:
         Monthly Safety & Sanitation Inspections Completed                                  YES

        Physical Plant (overall narrative):


                                                 INMATE POPULATION

                                              Capaci                                   #or%            J
        What is the designed capacity?                                                 1227
        What is the operational capacity?                                              1000
        % over or under design capacity as of the date of this report                -1 8.
                                                                                         6%
       Average daily inmate count                                                       995
        Other:

                                       Inmate Programs                             Yes or No
        Education                                                                      YES
        Inmate Clubs                                                                    NO
        Furloughs and Passes                                                            NO
        Formal recreation                                                              YES
        Informal recreation                                                            YES
       Religious Activities                                                            YES
       Self Help Croups                                                                YES
       Substance Abuse                                                                 YES
       Therapeutic                                                                   YES
                                         Inmate Jobs                               Yes or No
       Correctional Industries                                                         YES
       Farm                                                                             NO
       Inside Labor detail                                                             YES
       Maintenance                                                                     YES
       Outside Labor detail                                                            YES
       Special Projects:
       Other

                     Breakdown of Facility by Race                        #             To
       Caucasian                                                    295               29.8%
       Hispanic                                                     0
       Native American                                              0
       Southeast Asian                                              C
       Black                                                        694                70%
       Other:                                                       2                   .2
                                                            Total 991
                 Inmate Population Comprised of: (check all that apply)            Yes or No
       Administrative Segregation                                                     YES
       Maximum custody or Close custody                                               YES
       Medium custody                                                                 YES
       Minimum custody (Level II)                                                     YES
       Minimum custody (Level IV)                                                     YES
       Community custody                                                              YES
       HIV                                                                            YES
       Protective custody                                                              NO


                                                        5



HIGHLY CONFIDENTIAL                                                                                       ADOC-TP.019475
        Case 4:20-cv-02058-ACA                   Document 354-6             Filed 03/03/25               Page 6 of 16


                                                                                                                         Page 60! 15
                                                                                          ADOC Institutional Vulnerability Analysis

        Death Row                                                                                  NO
        Male                                                                                      YES
        Female                                                                                     NO
        Reception                                                                                  NO



                                      Inmates Uroup by:                                   I Yes or No
       Accordinq to aqe                                                                          NO
       Along racial lines                                                                        NO
       Security Threat Groups                                                                    NO
       Number of confirmed Security Threat Group members                                         NO
       Other (list):




                     lllegal!Unauthorized Activities (Use annual figures)
                                                   Total #of major disciplinary reports            550
                                                   Total #of minor disciplinary reports            738
                                                                           #tor Drugs              175
                                                                       #fcr Weapons                 80
                                                         #for Disrespect towards staff              50
                                                                     # for Contraband               32
                                                                       # for Gambling                7
                         #Possession of cellular phone or other communication device               104



                                           Use of Force
       Number of use of force incidents:                                                           212

                                           Drun Usane
                                                        Random Screening % Positive             16.5%
                                                       Intensive Screening % Positive             N/A
       What do you consider the level of drug usage to be in your facility? (Please
       explain why?) Circle one: Extensive      Moderate      Limited


                                       Extensive...
       Drugsare readily available due to ahigh number of items thrown over the
       fences, the number of positive drug tests, and the amount and variety of
       illegal substances confiscated.




                                    #of K9 Drug Alerts
                                                                              Visitors
                                                                              Inmates                 6
                                                                                 Staff                6
                                                     Contract employees or Volunteers                 0




                                                        6



HIGHLY CONFIDENTIAL                                                                                                 ADOC-TP-O 19476
           Case 4:20-cv-02058-ACA               Document 354-6         Filed 03/03/25         Page 7 of 16


                                                                                                               Page lot 15
                                                                                A000 Instilutional Vulnerability Analysis




                              INMATE-STAFF ASSAULTS WITHOUT SERIOUS INJURY
      A Assaulted with Weapon (specify weapon used)                                           0
      B. Assaulted by Hitting with Hand/Kicking/Slapping                                      6

      C. Assaulted by Pushing/Shoving/Ramming/Butting/Lunging                               11
      D. Assaulted by Water, Tea, Coffee, Food, Urine, Feces
                                                                                              9
         being Thrown or Spit Upon
      E. Assaulted by Thrown Objects (other than items listed above)                        10

      F. Assaulted by Choking

      G. Assaulted by Biting

      H. Assaulted by Grabbing                                                              14

      I.   Attempts to Assault                                                              20

      J.   Verbal Threats to Assault                                                        30

      K.   Fight/Altercations                                                                 4
              Number of Incidents
              Number of Inmates Involved
      L.   Alleged Assaults                                                                 10

      M. Other (specify nature of assault)                                                 N/A



                                 INMATE-
                                       STAFF ASSAULTS WITH SERIOUS INJURY
      A. Assaulted with Weapon (specify weapon used)                           3-handmade knife

      B. Assaulted by Hitting with Hand/KIcking/Slapping                                    10

      C. Assaulted by Pushing/Shoving/Ramming/Butting/Lunging                               12
      D. Assaulted by Water, Tea, Coffee, Food, Urine, Feces
                                                                                              0
         being Thrown or Spit Upon
      E. Assaulted by Thrown Objects (other than items listed above)                        16

      F. Assaulted by Choking                                                                 0

      G. Assaulted by Biting                                                                  0

      H. Assaulted by Grabbing                                                              10

      H. Assaulted by Other (specify)                                                         0




                                                      7



HIGHLY CONFIDENTIAL                                                                                       AD OC-TP-0 19477
           Case 4:20-cv-02058-ACA                 Document 354-6             Filed 03/03/25          Page 8 of 16


                                                                                                                     Pane 8016
                                                                                       ADOC Institudonal Vulnerability Analysis




                                INMATE-INMATE ASSAULTS WITHOUT SERIOUS INJURY
      A. Assaulted with Weapon (specify weapon used)                                     69— hands

      B. Assaulted by Hitting with Hand/Kicking/Slapping                                            7

      C. Assaulted by Pushing/Shoving/Ramming/Butting/Lunging                                      12
      D. Assaulted by Water, Tea, Coffee, Food, Urine, Feces
         being Thrown or Spit Upon
                                                                                                    o
      E. Assaulted by Thrown Objects (other than items listed above)                                S
      F. Assaulted by Choking                                                                       e

      G. Assaulted by Biting                                                                        S

      H. Assaulted by Grabbing                                                                      9

      I.     Attempts to Assault                                                                   20

      J.    Verbal Threats to Assault                                                               S

      L.     Alleged Assaults                                                                      10

      M. Other (specify nature of assault)                                                       N/A



                                   INMATE-INMATE ASSAULTS WITH SERIOUS INJURY
                                                                                       53—handmade
      A. Assaulted With Weapon (specify weapon used)
                                                                                          knives
      B. Assaulted by Hitting with Hand/Kicking/Slapping                                            9

      C. Assaulted by Pushing/Shoving/Ramming/Butting/Lunging                                       S
      D. Assaulted by Water, Tea, Coffee, Food, Urine, Feces                            12— feces,
         being Thrown or Spit Upon                                                           urine
      F. Assaulted by Thrown Objects (other than items listed above)                                7

      F. Assaulted by Choking                                                                       6

      a Assaulted by Biting                                                                         6

      H. Assaulted by Grabbing                                                                      6

      H. Assaulted by other means (specify)                                                      N/A



                                                  STAFF
                 Institution is Staffed accordino to identified needs in these areas       Yes or No
           Administrative                                                                   YES
           Education                                                                          YES
           Food Service                                                                       YES




                                                         6



HIGHLY CONFIDENTIAL                                                                                             ADOC-TF-01 9478
        Case 4:20-cv-02058-ACA                   Document 354-6            Filed 03/03/25               Page 9 of 16


                                                                                                                      PaGe 9of IS
                                                                                         ADOC InstituonaI Vulnerability Analysis


        Maintenance                                                                              YES
        Health Services                                                                          YES
        Mental Health                                                                            YES
        Custody                                                                                   N/A
        Unit Management                                                                           N/A
        Special Projects                                                                          N/A
        Industry                                                                                 YES
        Emergency Preparedness                                                                    N/A
        Other (specify):




                                Staff Organizations! Programs                                Yes or No
       Staff trust and use the employee assistance program                                      NO
       The institution has acredible employee recognition program                               NO
       The institution has aviable program for staff input                                      NO
       Other (specify)                                                                         N/A

                                          Staff Trainin                                      Yes or No
       Meets facility needs                                                                    YES
       Staff training increased from last year                                                  NO
       Staff training decreased from last year                                                  NO
       Included identification and care of mental health inmates                               YES
       Includes Problem Resolution                                                             YES
       Includes Use of Force                                                                   YES
       Additional training that should be provided:

       Comments:




                                                  Staff Issues
                           Please explain your reasoning:
       Staff Morale is:    Staff shortages
       Good                No cost of living increases IPay
       Fair                Mandatory overtime
       Low X               Stress from the number of serious and dangerous incidents

                                         Staff Issues                                      Response
       Recent staff Investigations have been divisive                       yes or no
       Explain how if yes:


                                                                                              NO
       How many work-place harassment claims have been filed in the last year?                  1
       What is the average sick leave usage?                                               59.5 hours
       Staff turnover is        %                50 turnovers in 2017                         27%
       #of on-the-job injury claims filed                                                      39
       Institution employs the following number of staff
                                                                       Administration           31
                                                                         Maintenance             5
                                        Contracted Medical and Mental Health Services           47
                                                                              Security          149


                                                          9



HIGHLY CONFIDENTIAL                                                                                               ADOC-TP-01 9479
       Case 4:20-cv-02058-ACA                        Document 354-6                   Filed 03/03/25               Page 10 of 16


                                                                                                                                   Page 1Of'5
                                                                                                     ADOC Institutional Vulnerability Analysis


                                                                    Support not identified above               6
                                                                                      Volunteers
                                                                                           Other         14 (CCOs)




                                                         PREVENTIVE ISSUES

                                  Communications Eauipment                                               Yes or No
       Is adequate for institution size and staffing patterns                                              YES
       Is operational                                                                                     YES
       Comments:




                                      Emerciency Procedures                                              Yes or No
       The institutions management feels the emergency planning documents are                             YES
       current and address the needs of the institution.
       All staff are familiar with and trained in the institutions emergency procedures                    YES
       Management and the Facility/Program Administrator are confident in the Shift                        YES
       Supervisors ability and authority to take immediate action to resolve and/or
       mitigate any emergency
       Shift Supervisors are confident in their ability and authority to take immediate                    YES
       action to resolve any emergency.
       Inmates know what to do in an emergency.                                                           YES
       The institution has adequate resources and staff to handle an emergency.                            NO
       The institution has plans for evacuation of aportion of or the entire institution                  YES
       Emergency Preparedness exercise are routine, varied and involve all levels of                     Monthly
       staff. Exercise are conducted?                               (weekly, monthly or quarterly)
       Comments:



       Institution has first responder system                            response time:                     Yes
       Comments:

       Institution has second responders                                 response time:                     NO
       Comments:


       Institution utilizes the Critical Incident Stress Management Team (CISMT)                           YES
       Comments:


       Institution has Crisis Negotiation Team                           response time:                     NO
       Comments:


       Institution has Correctional Emergency Response Team               response time: 2.4 his.           YES
       Comments:




                                                              10



HIGHLY CONFIDENTIAL                                                                                                            ADOC-TP-0 19480
       Case 4:20-cv-02058-ACA                      Document 354-6                 Filed 03/03/25             Page 11 of 16


                                                                                                                             Pogell otis
                                                                                               ADOC Institutional Vulnerability Analysis


        Institution has Special Operations Response Team               response time:                   NO
        Comments:




                                            Evacuation                                             Yes or No
       Institution has evacuation plan for every building                                           YES
       Evacuation plans are posted within state guidelines                                          YES
       Staff and inmates are trained in evacuation procedures                                       YES
       Building evacuation drills are conducted.              (weekly, monthly or quarterly)       Monthly



                                          Staff Response                                          Yes or No
       There is aviable recall plan in effect                                                      YES
       The majority of institutional staff live within 1hour of the institution                    YES
       A contingency plan exists in the event staff cannot respond due to 2 large                  YES
       scale community wide disaster
       Comments:




                                              HISTORICAL INFORMATION

                                   Assault from the Outside:                                      Yes or No
       Curiosity seeker(s), ex-inmates, visitors have been found in unauthorized
       areas on institution property.                                                               YES
       Institutional locale makes it vulnerable to approach from avariety of
       directions                                                                                   YES
       Comments:


                                      Bomb Threats                                              Yes or No
       Bomb threats in the community are on the rise,                                              No
       The institution has received bomb threats in the past year                                  NO
       Inmate-made bombs have been discovered in the past year                                     NO
       Comments:



                                       Inmate Discord                                           Yes or No
       Inmates sit-downs or work stoppages/slowdowns have occurred in the past
       year                                                                                          NO
       Inmates have increased their use of passive resistance, nonviolent refusals to
       follow direction                                                                             NO
       Individual or group hunger strikes have occurred in the last five years                      YES
       Inmates cite openly that the institution cannot operate without their labor                  YES
       Comments:

                                           Escapes                                              Yes or No
       The institution has had an escape within the past five years                               YES
       The nature of the facility and inmate activities lend itself to escape/walk away
       potential                                                                                     NO
       There are issues which need to be addressed in relation to improving an
       inmate's ability to successfully escape                                                      YES
       Comments:
       On 12-4-17, two inmates managed to escape during atime of increased
       inmate movement coupled with ongoing staff shortages.

                                        Earthquake                                              Yes or No
       Institution or community has experienced an earthquake                                      NO


                                                          11



HIGHLY CONFIDENTIAL                                                                                                      ADOC-TP-01 9481
       Case 4:20-cv-02058-ACA                    Document 354-6               Filed 03/03/25           Page 12 of 16


                                                                                                                        Pa   12 of 16
                                                                                          A000 Institutional Vulnerability Analysis

        The institution has existing earthquake damage                                            NO
        Comments:

                                         Biological Threat                                   Yes or No
        The institution is particularly vulnerable to an epidemic or illness due to the
        nature of the institution'spopulation or function within the ADOC                        YES
        Steps are taken to reduce the potential for food poisoning due to the large
        number of meal(s) prepared in one location                                               YES
        Comments:

                                            Flood                                            Yes or No
        The institution has experienced flooding in the past                                    NO
        Comments:

                                      Group Disturbances                                     Yes or No
        The institution has had more than one group disturbance in the last decade             YES
        Staff and inmates still talk about the last "big disturbance"                          YES
        Comments: An Officer was attacked in Segregation. The sane night multiple
        inmates stabbed aLieutenant causing serious injury to both employees.


        Staff Work Slowdowns /Stoppage                                                    Yes or No
        The institution has experienced widespread labor disputes in the past.                    NO
        Staff have voiced threats of planned work stoppaqe                                        NO
        Comments:

        Hazardous Waste/Chemical Spills                                                     Yes or No
                           Close proximity to an industrial plant                              NO
        Proximity to transportation network that handles HAZPVIAT                            3MILES
        Explain:




        Hazardous Materials/Chemicals are maintained on the institution grounds in
        large or volatile quantities that pose athreat.                                           NO
        Explain:



        Nuclear Catastrophe                                                                 Yes or No
          Proximity to Nuclear facility
                                             miles
        Proximity to transportation network handling nuclear materials
        miles
        Comments:



        Structure Fire                                                                      Yes or No
                    The institution design does promote fire prevention                       YES
        Buildings contain avariety of combustible materials                                   YES
        Current fire prevention/protection measures are adequate.                             YES
        Comments:



        Utility Failure                                                                     Yes or No
                   The institution has experienced frequent utility failures                   NO
        Utility failures due to labor disputes or sabotage are likely due to design or
        placement issues                                                                          NO


                                                        12



HIGHLY CONFIDENTIAL                                                                                                 ADOC-TP-01 9482
       Case 4:20-cv-02058-ACA                       Document 354-6               Filed 03/03/25           Page 13 of 16


                                                                                                                          Page I bI 15
                                                                                            ADOC Institutional Vulnerability Analysis


            Back up utilities are not in place (or are not perceived as adequate) to keep
            the facility in operation in event of loss of power                                     NO
            Issues exists related to the provision of autility that is necessary for the
            institution to operate in wake of the loss of that source                               NO

        The institution does not have an adequate alternative for drinking water in the
        event of contamination                                                                      NO
        Comments:



        Weather Threats                                                                        Yes or No
         Temperature extremes that the HVAC cannot handle leading to unsafe
                                       living conditions                                            NO
        Tornadoes and other violent storms frequent the area                                       YES
        Frequent high winds and electrical storms                                                  YES
        Winter conditions create facility isolation                                                YES
        Comments:




                     SECTION III. DECLARED EMERGENCIES IN THE PAST YEAR


                                                        Provide Narrative for each




       2.




       a.




                                          SECTION IV. CRITICAL THREATS

       Use the information developed as a result of the information contained in Sections I, II and II to identify and list
       in order of priority the five most critical threats to the safe and orderly operation of your institution.

       Then take it one step further and provide acandid assessment of your level of preparedness to respond to the
       emergency as well as any existing factors which limit your ability to deal with the emergency.



                                                           13



HIGHLY CONFIDENTIAL                                                                                                    ADOC-TP-019483
       Case 4:20-cv-02058-ACA                    Document 354-6              Filed 03/03/25             Page 14 of 16


                                                                                                                         Page l4ofls
                                                                                           ADOC Institutional Vulnerability Analysis




       1.      Staffing Shortage
               Assessment: The lack of an adequate number of correctional officers on post to patrol areas leaves
               inmates unattended for long periods of time. It also hinders the ability of staff to respond to incidents and
               be able to control the situations. The inmate to officer ratio is too high during each shift, especially on
               the Night Shift.

       2.      Public Access
               Assessment: Due to the layout of the facility and its proximity to public roads, there have been major
               issues with people throwing contraband over the fence. Drugs and cell phone packages have been
               confiscated.

       3.      Infectious Disease(s)
               Assessment: At any time, the facility is vulnerable to the possibility of an outbreak /infectious disease.
               When this occurs, the movement of inmates out of the facility is affected, which hinders the ability to
               transfer inmates to other facilities for custody reductions, remove inmate enemies from the facility, assist
               other facilities by accepting higher level security inmates, etc. This situation is further exacerbated by
               the lack of negative pressure housing areas.

       4.      Weather events
               Assessment: Weather is unpredictable. During the February/March, severe tornados and snow/ice may
               strike the area. The weather events are a threat because of their unpredictability and the paralyzing
               effect they have on the facility and the surrounding area. When these extreme weather events occur it
               causes staffing shortages to be exacerbated. It also isolates the facility due to its location. Although the
               facility is self-sustaining in many ways, weather event make it more difficult to continue normal
               operations.




       Institution or Division name: St. Clair Correctional Facility


       Date Risk Assessment Was Conducted:          May 2, 2018


                             List of Individuals Who Participated in the Assessment Process:


        NAME                                                      TITLE! WORK AREA

        Anthony Brooks                                            Warden I/SCCF

        Kelly Phillips                                             Health Services Administrator IWexford

        Tammy Montgomery                                           Incident Report Manager /SCCF

        Phillip Guthery & Perry Wilson                            CO, Drug Lab /SCCF




                                                         14



HIGHLY CONFIDENTIAL                                                                                                  ADOC-TP-019484
       Case 4:20-cv-02058-ACA              Document 354-6   Filed 03/03/25        Page 15 of 16


                                                                                                  Psge Is of is
                                                                     A000 nstitutional Vulnerability Ana ysis




                      Warden or Division Director                                   Date




                                                    15


HIGHLY CONFIDENTIAL                                                                           ADOC-TP-019465
       Case 4:20-cv-02058-ACA                           Document 354-6       Filed 03/03/25            Page 16 of 16


                                                                                                                       Page IS oils
                                                                                          ADOC lnst{luUonal Vulnerabilily Analysis




                                                               SECTION V
                                                              GOALS (2018)


       1.   Increase security and support staffing



       2.   Create inmate specialized dorms (i.e., inmate safety, restrictive privilege, intake)




       3.   Have security cameras and mirrors installed throughout the facility



       4.   Stop the introduction of contraband into the facility



       5.   Provide asafer environment for staff and inmates



       6.   Decrease deficiencies from previous PREA Audit




       7.   Concentrate more on rehabilitation to reduce recidivism by providing more programs.



       B.   Increase employee morale



       9.   Meetings:

            Staff Meetings -  Held the 3td Monday of each month. If this date falls on a holiday, the meeting is held
            on the 4111 Monday.

            Security Staff Meetings    -   Held following the scheduled monthly staff monthly

            Correctional Officer Meetings      -       October 2018 (TBD)

            Inmate Meetings    -   Held the 20 Tuesday of the month, as schedule(s) allow

            Community Advisory Meetings            -    NIA




                                                              16


HIGHLY CONFIDENTIAL                                                                                                 ADOC-TP-019486
